Case 1:15-cr-20390-BB Document 1 Entered on FLSD Docket 05/28/2015 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                          SO UTH ERN D ISTRIC T O F FL O R ID A

                                             No.         ïS -G D lQ- A h'.Ae-
 UN ITED STATE S O F AM ER ICA

V S.


 NORM A AM CELY SIERR A FIGUEROA,

          D efendant.
                                               /

                               CRIM INAL COVER SHEET


       D id this m atter originate from a m atter pending in the N orthern Region of the U nited
       StatesAttomey'sOfficepriorto October14,2003?                   Yes        x        No

2.     Did thismatteroriginatefrom amatterpending in theCentralRegion oftheUnited States
       A ttorney's Office priorto Septem ber 1,2007?           Yes        x      No


                                           Respectfully subm itted,

                                           W IFRED O A .FERRER
                                           U NITED STATES ATTO RN EY

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      Case    )CrlmlnalComplaintAUSA Document
                                     PATRICK  1 Entered on FLSD Docket 05/28/2015 Page 2 of 2


                                 U nited States D istrictC ourt
                SOUTHERN                    DISTRICT O F                  FLORIDA

            UNITED STATES OF AMERICA

                          V.                                        C RIM INAL C O M PLA INT
           NORMA ARACELY SIERRA FIGUEROA

                                                        cAsENuMeER: l6 -: :715- trh'
                                                                                   ïAc
1,the undersigned com plainant,being duly sworn,state the follow ing is true and correct to the bestofm y
know ledge and belief.O n oraboutMay 25,2015,atMiam iInternationalAirport,in M iam i-Dade County,in the
Southern Districtof Florlda,the defendant,NORM A ARACELY SIERRA FIGUEROA,did know ingly possess
and use and attem ptto use a United States visa,know ing itto have been procured by m eans ofa false claim
orstatement,orto have been otherw ise procured by fraud orunlaw fully obtained,in vlolation of Title 18,
United States Code,Section 1546(a).
Ifurtherstate thatIam an EnforcementOfficerwith U.S.Customs and BorderProtection (.'CBP''),and that
this com plaintis based on the follow ing facts:

O n or about MAY 25, 2015, the defendant, NORMA ARACELY SIERRA FIGUEROA , arrived at M iam i
International Alrport aboard Am erican Airlines Flight #956 from Tegucigalpa, Honduras. The defendant
presented a Honduran passportand a U.S.visa to CBP foran exam inatlon and entry into the United States.
The defendantwas referred to secondary inspection foradmissibility verification.Durinj the secondary
exam ination,CBP Officers discovered that the Honduran passport and U.S. visa subm ltted by NO RMA
ARACELY SIERRA FIGUEROA w ere genuine. How ever,the U.S. visa had been obtained with fraudulent
statem ents m ade by the defendant.The application for a non-im m igrant visa asks 'Have you ever been
unlawfully present,overstayed the am ount oftim e granted by an Im m igration officialorotherw ise violated
the term s ofa U.S.visa?'
                        ' The defendantanswered ''no.' Records showed she entered the U.S.on April19,
2008 with authorization to stay untilOctober18,2008. The defendantdeqarted on December16,2009,
incurring an overstay of 1 year,1 m onth and 28 days.The defendant adm ltted her overstay and falsely
answering ''no''w hen asked aboutan overstay on hervisa application.



                                                         NAR                 NDc ,ENFORCEM ENT O FFICER
                                                         u.s.cusTousAND BöRDER pRoTEcTloN


Sworn to before me,and subscribed In m y presence,


MAY 27.2015              '                         at    Miam i Florida               ,
Date                                                     cityand state



PATRICK A.W HITE
UNITED SYATES MAGISTRATE JUDGE                                               .             %
NameandTitle ofJudicialOfficer                           Signature J      alOfficer
